       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 1 of 7



 1   Stephen D. Hibbard (State Bar No. 177865)
     sdhibbard@jonesday.com
 2   John C. Tang (State Bar No. 212371)
     jctang@jonesday.com
 3   Nathaniel P. Garrett (State Bar No. 248211)
     ngarrett@jonesday.com
 4   Dennis F. Murphy, Jr. (State Bar No. 301008)
     dennismurphy@jonesday.com
 5   JONES DAY
     555 California Street, 26th Floor
 6   San Francisco, CA 94104
     Telephone: +1.415.626.3939
 7   Facsimile: +1.415.875.5700

 8   Attorneys for Defendants
     SUPER MICRO COMPUTER, INC. and
 9   WALLY LIAW

10

11                                 UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13                                      OAKLAND DIVISION
14
     LOGAN HESSEFORT, Individually and on           Lead Case No. 4:18-cv-00838-JST
15   Behalf of All Others Similarly Situated,
                                                    STIPULATION AND [PROPOSED]
16                    Plaintiff,                    ORDER REGARDING AMENDING
                                                    SCHEDULING ORDER
17          v.
                                                    Fourth Am. Compl. Filed: Oct. 14, 2020
18   SUPER MICRO COMPUTER, INC., et al.,            Trial Date: None Set
19                    Defendants.
20

21

22

23

24

25

26

27

28
                                                           STIPULATION AND PROPOSED ORDER
                                                                         NO. 4:18-cv-00838-JST
       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 2 of 7



 1           Lead Plaintiff New York Hotel Trades Council & Hotel Association of New York City,

 2   Inc. Pension Fund (“Lead Plaintiff’) and Defendants Super Micro Computer, Inc., Charles Liang,

 3   Howard Hideshima, and Wally Liaw (collectively, “Defendants,” and, together with Lead

 4   Plaintiff, the “Parties”), through their counsel of record, stipulate as follows:

 5           WHEREAS, on April 27, 2021, the Court issued a Scheduling Order (ECF 129), setting

 6   November 1, 2021 as the deadline for Defendants’ class certification opposition; December 22,

 7   2021 as the deadline for Lead Plaintiff’s reply; and January 20, 2022 at 2 p.m. for the class

 8   certification hearing;

 9           WHEREAS, on September 1, 2021, Lead Plaintiff filed its Motion to Certify Class,

10   Appoint Class Representative, and Appoint Class Counsel (ECF 143);

11           WHEREAS, on October 21, 2021, the Court entered a stipulation and order amending the

12   Scheduling Order, where Defendants’ deadline to oppose class certification was extended to

13   December 22, 2021; Lead Plaintiff’s deadline to reply was extended to February 9, 2022; and the

14   hearing was continued to March 10, 2022 at 2 p.m. (ECF 145);

15           WHEREAS, prior to the date of his deposition scheduled for December 16, 2021, the

16   Lead Plaintiff’s representative experienced COVID-related symptoms and tested positive, along

17   with a member of his family, and currently is recovering and unable to testify on the scheduled

18   date;

19           WHEREAS, the Parties seek to further amend the Scheduling Order as to class

20   certification briefing in order to allow Defendants to take the deposition of Lead Plaintiff and

21   Lead Plaintiff’s expert prior to Defendants’ deadline to oppose class certification and believe

22   good cause exists hereto;

23           WHEREAS, in the interest of allowing sufficient time for Lead Plaintiff’s testifying

24   representative to fully recover prior to the deposition, and in view of the upcoming holidays and

25   prior professional commitments in early January for counsel for Lead Plaintiff and Defendants

26   and their clients, where availability for depositions is limited, the Parties respectfully request to

27   modify the class certification briefing deadlines as outlined below; and

28           WHEREAS, the Court has not yet set any other case management deadlines, including
                                                                   STIPULATION AND PROPOSED ORDER
                                                                                 NO. 4:18-cv-00838-JST
       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 3 of 7



 1   fact or expert discovery cut-off or trial, thus no other deadlines will be affected by the below

 2   proposed modifications to the Scheduling Order.

 3          NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 16(b)(4) and Civil L.R.

 4   7-12, the undersigned parties, by and through their counsel of record, stipulate as follows, subject

 5   to Court approval:

 6          1.      Defendants’ deadline to file and serve their class certification opposition is

 7   extended from December 22, 2021 to January 31, 2022;

 8          2.      Lead Plaintiff’s deadline to file and serve its class certification reply is extended

 9   from February 9, 2022 to March 23, 2022; and

10          3.      The class certification hearing is continued from March 10, 2022 to April 21, 2022

11   at 2 p.m., or at such other date and time suitable for the Court.

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                  STIPULATION AND PROPOSED ORDER
                                                       2                        NO. 4:18-cv-00838-JST
       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 4 of 7



 1   Dated: December 16, 2021              Respectfully submitted,

 2                                         JONES DAY

 3

 4                                         By: /s/ Stephen D. Hibbard
                                                Stephen D. Hibbard
 5
                                           Counsel for Defendants
 6                                         SUPER MICRO COMPUTER, INC. and
                                           WALLY LIAW
 7

 8                                         ROBBINS GELLER RUDMAN & DOWD
                                           LLP
 9

10
                                           By: /s/ Daniel J. Pfefferbaum
11                                              Daniel J. Pfefferbaum
12                                         Shawn A. Williams (SBN 213113)
                                           shawnw@rgrdlaw.com
13                                         Daniel J. Pfefferbaum (SBN 248631)
                                           dpfefferbaum@rgrdlaw.com
14                                         Patton L. Johnson (SBN 320631)
                                           pjohnson@rgrdlaw.com
15                                         Post Montgomery Center
                                           One Montgomery Street, Suite 1800
16                                         San Francisco, CA 94104
                                           Telephone: +1.415.288.4545
17                                         Facsimile: +1.415.288.4534
18                                         Counsel for Lead Plaintiff
19

20

21

22

23

24

25

26

27

28
                                                     STIPULATION AND PROPOSED ORDER
                                          3                        NO. 4:18-cv-00838-JST
     Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 5 of 7



 1
                                         BERGESON, LLP
 2

 3
                                         By: /s/ Caroline McIntyre
 4                                            Caroline McIntyre
 5                                       Daniel J. Bergeson (SBN 105439)
                                         dbergeson@be-law.com
 6                                       Caroline McIntyre (SBN 159005)
                                         cmcintyre@be-law.com
 7                                       111 N. Market St., Suite 600
                                         San Jose, CA 95113
 8                                       Telephone: +1.408.291.6200
                                         Facsimile: +1.408.297.6000
 9
                                         Counsel for Defendant
10                                       CHARLES LIANG
11

12                                       PAUL HASTINGS LLP
13

14                                       By: /s/ D. Scott Carlton
                                              D. Scott Carlton
15
                                         Nicolas Morgan (SBN 166441)
16                                       nicolasmorgan@paulhastings.com
                                         D. Scott Carlton (SBN 239151)
17                                       scottcarlton@paulhastings.com
                                         515 South Flower Street, 25th Floor
18                                       Los Angeles, CA 90071
                                         Telephone: +1.213.683.6000
19                                       Facsimile: +1.213.627.0705
20                                       Counsel for Defendant
                                         HOWARD HIDESHIMA
21

22

23

24

25

26

27

28
                                                   STIPULATION AND PROPOSED ORDER
                                        4                        NO. 4:18-cv-00838-JST
       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 6 of 7



 1           I, Stephen D. Hibbard, am the ECF User whose ID and password are being used to file

 2   this STIPULATION AND [PROPOSED] ORDER REGARDING AMENDING SCHEDULING

 3   ORDER. In compliance with Civil L.R. 5-1(h)(3), I hereby attest that all signatories concur in

 4   this filing.

 5   DATED: December 16, 2021
                                                                /s/ Stephen D. Hibbard
 6
                                                                STEPHEN D. HIBBARD
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                               STIPULATION AND PROPOSED ORDER
                                                    5                        NO. 4:18-cv-00838-JST
       Case 4:18-cv-00838-JST Document 148 Filed 12/22/21 Page 7 of 7



 1                                   *     *     *

 2                                       ORDER

 3        PURSUANT TO STIPULATION, IT IS SO ORDERED.

 4
     DATED: ____________________________
            December 20, 2021                  ____________________________________
 5                                             HON. JON S. TIGAR
 6                                             UNITED STATES DISTRICT JUDGE

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     STIPULATION AND PROPOSED ORDER
                                           6                       NO. 4:18-cv-00838-JST
